Case 1:03-cv-11111*-DKW-KJM

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DC LIA PagelD.234
fRev. 1/75}
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF OR PENDANT
pocket No. MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS ‘HUMAN RIGHTS LITIGATION :
ppace i7lor paces
DATE NR: PROCEEDINGS
/ 1999 :
Apr 20 : 4620 PROOF of Claim Form For Summary Execution Victims by Juanario A. Fernando by
/ Gloria F. Fernando
4621 PROOF of Claim Form For Summary Execution Victims by Catalina Silares-Aldojesa by
Dionisio P. Aldojesa
4622 > PROOF of Claim Form For Summary Execution Victims by Luminog Hadji Akmad by
Sania Abad H. Akmad
4623 PROOF of Claim Form For Summary Execution Victims by Juanito P. Macalindong by
Junito Macelindong
| 4624 | PROOF of Claim Form For Summary Execution Victims by Hilario Larry V. Flores by
: : Florentine V. Flores
4625 PROOF of Claim Form For Summary Execution Victims by Arnoldo Capitan by Raynato
Catipan
4626 PROOF of Claim Form For Summary Execution Victims by Alo Baliwan Delna by Kanakan
A. Delna
: 4627 | PROOF of Claim Form For Summary Execution Victims by Migkarupong Amilil by Hasim
Amilil
/4628 , PROOF of Claim Form For Summary Execution Victims by Takiod Mangakoy by Salik
Mangakoy
4629 | PROOF of Claim Form For Summary Execution Victims by Malimpenek Lumanbas by
Dagindengan Lumambas
4630 | PROOF of Claim Form For Summary Execution Victims by Aniano Ornopia by Redolfa
Ornopia
4631 | PROOF of Claim Form For Summary Execution Victims by Contrado Satinitigan by
Olivia Satinitigan Peloton
4632 | PROOF of Claim Form For Summary Execution Victims by Anecito M. Tomampo by
Dolores M. Tomampo
4633 | PROOF of Claim Form For Summary Execution Victims by Dionisio M. Paleo by Luciano
Dalangin
' 4634 | PROOF of Claim Form For Summary Execution Victims by Ricardo B. Pepito by Dolores
V. Alaba
4635 | PROOF of Claim Form For Summary Execution Victims by Saturtinc Casia by Imelda L.
Casia
4636 | PROOF of Claim Form For Summary Execution Victims by Molimo Oliano by Domingo V-.
Gliano
4637 | PROOF of Claim Form For Summary Execution Victims by Fortunato M. Dalisay by
Cecelia Dalisay Pagsuguiron
4638 | PROOF of Claim Form For Summary Execution Victims by Kalti Sangri by Armia &.
Sangri
/4639 | PROOF of Claim Form For Summary Execution Victims by Alejandro Nacua by Avelina
J. Nacua
4640 | PROOF of Claim Form For Summary Execution Victims by Agripino 3. Gumarang, Jr. by
Orlita Gumarang
4641 | PROOF of Claim Form For Summary Execution Victims by Merlin Lotino by Virgenia
Lotine
4642 | PROOF of Claim Form For Summary Execution Victims by Angelito Canon by Arnel P.
Canon
4643 ) PROOF of Claim Form For Summary Execution Victims by Rolando Canon by Zosima Cano
4644 | PROOF of Claim Form For Summary Execution Victims by Adriano Canon by Zosima Canoh
4645 | PROOF of Claim Form For Summary Execution Victims by Lilea P. Loay
4646 | PROOF of Claim Form For Summary Execution Victims by Melchor F. Falsis by Jose P.

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(Rev, 2/75)
CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
pocket no, MDL 840
IN RE: ESTATE OF FERDINAND &. MARCOS |HUMAN RIGHTS LITIGATION (re
PAGE Lior PAGES
DATE NR. PROCEEDINGS
i999
Apr 20 4647, PROOF of Glaim Form For Summary Execution Victims by Bacuit Dalanda by Satar
Dalanda
4648; PROOF of Claim Form For Summary Execution Victims by Rosela M. Apdua by Hilarion
Apdua
4649} PROOF of Claim Form For Summary Execution Victims by Miguel Tablon Namit by Lucia
Tablon Namit
46501 PROOF of Claim Form For Summary Execution Victims by Martin E. Barrameda by Asund
Barrameda
4651| PROOF of Claim Form For Summary Execution Victims by Abdua Kando by Pembain Kandd
4652| PROOF of Claim Form For Summary Execution Victims by Adriano Dacuro by Danilo
Dacure
4653! PROOF of Claim Form For Summary Execution Victims by Eufronio DB. Villaflor by
Francisco Villaflor
4654, PROOF of Claim Form For Summary Execution Victims by Luzviminda Cabrillas Rafaleg
by Juanita C. Rafales
4655) PROOF of Claim Form For Summary Execution Victims by Melato A. Mabute by Serapia
Mabute ,
4656) PROOF of Claim Form For Summary Execution Victims by Jose CC. Domael by Lydia D.
Doblon
4657| PROOF of Claim Form For Summary Execution Victims by Tarcilo DB. Babalcon, Sr. by
Tarcilo D. Babalcon, Jr.
4658) PROOF of Claim Form For Summary Execution Victims by Eleuterio Aningal by Nelia
Oriel Aningal
4659) PROOF of Claim Form For Summary Execution Victims by Antonio G. Tejero by
Mansueta G. Tejero
4660| PROOF of Claim Form For Summary Execution Victims by Victoriane Oriola by Pedro
Francisco
4661) PROOF of Claim Form For Summary Execution Victims by Alberson Gomez by Remedios
Gomez
4662, PROOF of Claim Form For Summary Execution Victims by Fernando Canoy by Eugene E.
Canoy
4663} PROOF of Claim Form For Summary Execution Victims by Cornelio Castillo by Richie
Castillo
4664; PROOF of Claim Form For Summary Execution Victims by Victor Kirk Pineda Belen by
Rosita P. Belen
4665! PROOF of Claim Form For Summary Execution Victims by Nestor C. Basalo by Jose 5.
Basalo
4666} PROOF of Claim Form For Summary Execution Victims by Teodoro P. Cais by Dominadoy
C. Cais
4667! PROOF of Claim Form For Summary Execution Victims by Danilo L. Tablada by Rafael
K. Tablada
4668} PROOF of Claim Form For Summary Execution Victims by Pablo ©. Macanas by Maria R.
Ocenar
4669! PROOF of Claim Form For Summary Execution Victims by Mariano R. Solayao by Nieveg
D. Solayao
4670| PROOF of Claim Form For Summary Execution Victims by Felix Sabaybay by Rosa
Sabaybay
4671! PROOF of Claim Form For Summary Execution Victims by Bernardo A. Abiles by
Remedios Aline
4672) PROOF of Claim Form For Summary Execution Victims by Rodulifo Moslares by Yunila
Moslares
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF OEFENDANT i
‘pocket No, MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION pace 7dr paces
DATE NR. PROCEEDINGS
i999 —
Apr 20 4673) PROOF of Claim Form For Summary Execution Victims by Rovelino R. Cotoniel by
: Crecencio C. Cotoniel
| 4674 , PROOF of Claim Form For Summary Execution Victims by Dalmacio Cagoco Magaso by
Turista M. Magaso
4675 > PROOF of Claim Form For Summary Execution Victims by Bartolome B. Loriun by Doler
| Arnite
4676 PROOF of Claim Form For Summary Execution Victims by Lucio P. Mugas by Sofronic
: i T. Mugas
|4677 | PROOF of Claim Form For Summary Execution Victims by Petro Cue by Heling Cue
4678 | Statement by Leonardo Agron, Linda Tangonan, Encarnacio Valdez, Milagros Guimod,
: Zenaida Lumabao, Francisca Bannar and Manuel Molina
4679 ' Statement by Cresencia Nabla
: 4680 | Statement by Mercedes B. Cabarong
2E |4681 | PROOF of Claim Form For Torture Victims by Belinda Giron Arcilla
: 4682 | PROOF of Claim Form For Torture Victims by Florentino B. Arcilla, Sr.
4683 ) PROOF of Claim Form For Torture Victims by Ruben P. Manog
4684 PROOF of Claim Form For Torture Victims by Edilberto L. Alde
4685 | PROOF of Claim Form For Torture Victims by Rovellio Paredes, Deceased by Ester P.
Omotoy
4686 | PROOF of Claim Form For Torture Victims by Avelina "Billy" L. Andal
4687 | PROOF of Claim Form For Torture Victims by Cesar Velasquez Ilagan
4688 | PROOF of Claim Form For Torture Victims by Democrito T. Penida, Deceased by
Elicia T. Penidoe
4689 | PROOF of Claim Form For Torture Victims by Rammel R. Corro, Deceased by Angelina
E. Corro :
4690 | PROOF of Claim Form For Torture Victims by Elizabeth R. Madriaga
4691 | PROOF of Claim Form For Torture Victims by Eduardo Recodo
4692 PROOF of Claim Form For Torture Victims by Gloria Guazon Loberiano
4693 | PROOF of Claim Form For Torture Victims by Angel P. Portento
4694 | PROOF of Claim Form For Torture Victims by Pascual P. Portento
4695 | PROOF of Claim Form For Torture Victims by Carlito F. Perias
4696 | PROOF of Claim Form For Torture Victims by Rufino O. Asuncion
4697 | PROOF of Claim Form For Torture Victims by Elbino Bungag Gammad
4698 | PROOF of Claim Form For Torture Victims by Leodivico Paiattao
4699 | PROOF of Claim Form For Torture Victims by Melecio Palattao Asucena
4700 | PROOF of Claim Form For Torture Victims by Rodrigo Lumelay Lanna
4701 | PROOF of Claim Form For Torture Victims by Rudy Abao
4702 | PROOF of Claim Form For Torture Victims by Leonor Gvinay
4703 | PROOF of Claim Form For Torture Victims by Rogelio Bungag Gammad
4704 | PROOF of Claim Form For Torture Victims by Constantino Manablug
4705 | PROOF of Claim Form For Torture Victims by Jocelyn K. Carino
4706 | PROOF of Claim Form For Torture Victims by Zenaida de Mesa Soriano
4707 | PROOF of Claim Form For Torture Victims by Gloria Banda, Violeta Banda, Deceased
by Angeno C. Banda
4708 | PROOF of Claim Form For Torture Victims by Constantino T. Luceno, Deceased by
Constantino T. Eduardo
4709 | PROOF of Claim Form For Torture Victims by Benrubio S$. Navarro, Deceased by Rosit
Jacinto Jaban
4710 | PROOF of Claim Form For Torture Victims by Thelma ©. Giray, Deceased by Porfirio
Cc. Giray
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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE: ESTATE OF FERDINAND E. MARCOS

CEFENDANT

HUMAN RIGHTS LITIGATION

DOCKET NO, MDL 840 _

PAGE l74or PAGES
DATE NR. PROCEEDINGS
1999
Apr 21 4711/| PROOF of Claim Form For Torture Victims by Beltran A. Protacio

4712} PROOF of Claim Form For Torture Victims by Rogelio 0. Datario

4713) PROOF of Claim Form For Torture Victims by Francisco Cortez

4714| PROOF of Claim Form For Torture Victims by Julian A. Protacio, Jr.

4715) PROOF of Claim Form For Torture Victims by Victorio Loreto

4716| PROOF of Claim Form For Torture Victims by Porferio R. Bula

4717) PROOF of Claim Form For Torture Victims by Bienvenido Alute Banda

4718; PROOF of Claim Form For Torture Victims by Hermogenes M. Aguasa, Jr.

4719| PROOF of Claim Form For Torture Victims by Isidro Charles A. Suedad

4720| PROOF of Claim Form For Torture Victims by Abundio L. Rebuyon

4721, PROOF of Claim Form For Torture Victims by Silvestra Mendoza

4722) PROOF of Claim Form For Torture Victims by Raul H. Eztremadura

4723) PROOF of Claim Form For Torture Victims by Hermingildo Amil

4724: PROOF of Claim Form For Torture Victims by Jose Aloba Guillermo, Deceased by Lilia
Guillermo Soliven

4725 | PROOF of Claim Form For Torture Victims by Adriano C. Rafales

4726 | PROOF of Claim Form For Torture Victims by Antonio L. Canete, Deceased by Socorrd
P, Canete

4727; PROOF of Claim Form For Torture Victims by Marcelino A. Urbano

4728; PROOF of Claim Form For Torture Victims by Geronimo J. Perez

4729| PROOF of Claim Form For Torture Victims by Santos Pondivida

4730, PROOF of Claim Form For Torture Victims by Elizabeth G. Regalado

4731] PROOF of Claim Form For Torture Victims by Carmelita Kadayan

47321 PROOF of Claim Form For Torture Victims by Reynaldo Z. Magbato, Deceased by
Rebecca T. Magbato

4733] PROOF of Claim Form For Torture Victims by Toribia Advincula~Deguito, Deceased
by Luisa G. Deguito

4734) PROOF of Claim Form For Torture Victims by Fernando L. Perlas

4735; PROOF of Claim Form For Torture Victims by David Dacop

4736) PROOF of Claim Form For Torture Victims by Agripina P. Porley

4737| PROOF of Claim Form For Torture Victims by Rogelio Tonacao

4738} PROOF of Claim Form For Torture Vietims by Victor 8. Endroba

4739) PROOF of Claim Form For Torture Victims by Eusebio G. Hibaya, Deceased by
Paulino N. Hibaya

4740] PROOF of Claim Form For Torture Victims by Jose puntay, Deceased by Damasa Q.
Puntay

4741! PROOF of Claim Form For Torture Victims by Sixto Hinagpisan

4742| PROOF of Claim Form For Torture Victims by Bonifacio R. Asedillo

4743} PROOF of Claim Form For Torture Victims by Miguel E. Capacite

4744| PROOF of Claim Form For Torture Victims by Mellie M. Barata~Adona

4745) PROOF of Claim Form For Torture Victims by Pedro T. Auvid

4746) PROOF of Claim Form For Torture Victims by Anacita 0. Ricohermoso

4747| PROOF of Claim Form For Torture Victims by Ramon Punzalan, Deceased by Edwin
P. Torres

4748 PROOF of Claim Form For Torture Victims by Luis H. Ballenas

4749} PROOF of Claim Form For Torture Victims by Ricardo F. Rivas

4750| PROOF of Claim Form For Torture Victims by Alfredo Bailenas

4751] PROOF of Claim Form For Torture Victims by Froilan Asucena Sibal

4752) PROOF of Claim Form For Torture Victims by Jimmy Domingo

4753} PROOF of Claim Form Fer Torture Victims by Sulpicio C. Ducusin

4754| PROOF of Claim Form For Torture Victims by Marlon G. Bungag

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iRey, 1/75)
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF | OEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS ‘HUMAN RIGHTS LITIGATION

pocket no. MBL 840_

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PROCEEDINGS

DATE
1999
/Apr 21 21 4755 PROOF of Claim Form For Torture Victims by Peter M. Garcia
4756 | PROOF of Claim Form For Torture Victims by George F. Pielago
4757 | PROOF of Claim Form For Torture Victims by Pepito D. Frias
| 4758 PROOF of Claim Form For Torture Victims by Gil F. Derilo
4759 | PROOF of Claim Form For Torture Victims by Eduardo Cabrera
4760 | PROOF of Claim Form For Torture Victims by Roger 8. Aronda
4761 PROOF of Claim Form For Torture Victims by Dante L. Velasco
4762 | PROOF of Claim Form For Torture Victims by Rodelio Bandin
4763 | PROOF of Claim Form For Torture Victims by Samuel Jiminez, Deceased by Presentaci
Jiminez
| 4764 PROOF of Claim Form For Torture Victims by Salvador V. Moros
° 4765 PROOF of Claim Form For Torture Victims by Marcelino Baja
4766 | PROOF of Claim Form For Torture Victims by Asterio $. Bagayas, Sr.
4767 | PROOF of Claim Form For Torture Victims by Raquel Legarde Borromeo
4768 | PROOF of Claim Form For Torture Victims by Godofredo C. Flores
4769 | PROOF of Claim Form For Torture Victims by Sanny Malangit
4770 | PROOF of Claim Form For Torture Victims by Jesusa Procuranto
4771 | PROOF of Claim Form For Torture Victims by Claudia A. Ducusin
4772 | PROOF of Claim Form For Torture Victims by Juan A. Paquera
4773 | PROOF of Claim Form For Torture Victims by Ramon $. Pelonio
4774 | PROOF of Claim Form For Torture Victims by Fortunato A. Pedoy
4775 | PROOF of Claim Form For Torture Victims by Carmelito Yparraguirre
4776 | PROOF of Claim Form For Torture Victims by Romeo S. Baldera, Jr.
4777 | PROOF of Claim Form For Torture Victims by Mando~on Alayon, Deceased by Tagnan
Alayon
4778 | PROOF of Claim Form For Torture Victims by Jesusa Procurato
4779 | PROOF of Claim Form For Torture Victims by Ernesto C. Banda, Deceased by Angelo
QO. Banda
4780 | PROOF of Claim Form For Torture Victims by Luzveminda Verano
4781 | PROOF of Claim Form For Torture Victims by Allan C. Bautista
4782 | PROOF of Claim Form For Torture Victims by Romio A. Ecoo
4783 | PROOF of Claim Form For Torture Victims by Eglecerao Obiena, Deceased by Juan
Galindez
4784 | PROOF of Claim Form For Torture Victims by Eduardo Aurelio Corpus Reyes
4785 | PROOF of Claim Form For Torture Victims by Jose Camuta
4786 | PROOF of Claim Form For Torture Victims by Eduardo F. Ferraris
4787 | PROOF of Claim Form For Torture Victims by Tito Badiola
4788 | PROOF of Claim Form For Torture Victims by Fernando F. Andaya
4789 | PROOF of Claim Form For Torture Victims by Jaime P. Sumondong
4790 | PROOF of Claim Form For Torture Victims by Claudia A. Ducusin
4791 | PROOF of Claim Form For Torture Victims by Arig Daimores
4792 (PROOF of Claim Form For Torture Victims by Wilfredo Vidal
4793 | PROOF of Claim Form For Torture Victims by Noel H. Esporma
4794 | PROOF of Claim Form For Torture Victims by Roberto Tribunalo
4795 | PROOF of Claim Form For Torture Victims by Lucien Dueno
4796 | PROOF of Claim Form For Torture Victims by Hilbert Tribunalo
4797 | PROOF of Claim Form For Torture Victims by Rita Baliguat Amale jo
4798 | PROOF of Claim Form For Torture Victima by Romulo Castro Deampo
4799 PROOF of Claim Form For Torture Victims by Victoric Lasan Yang~ed
4800 | PROOF of Claim Form For Torture Victims by Roberto Lumelay Lanna
4801 | PROOF of Claim Form For Torture Victims by Alfredo A, Naul, Deceased by Romeo A.
Naul
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
pocket No. _MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS ‘HUMAN RIGHTS LITIGATION
PAGE 17for PAGES

PROCEEDINGS

Milagros M. Guimad

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DATE NR.
1999
Apr 21 4802; PROOF of Claim Form For Torture Victims by Peter I. Badiang

4803) PROOF of Claim Form For Disappearance Victims by Elenito Gundaya by Cynthia C.
Gundaya

4804| PROOF of Claim Form For Disappearance Victims by Joel Pajalla by Merie Pajalla

4805| PROOF of Claim Form For Disappearance Victims by Rudy F. Magpaye by Luz N.
Magpayo

4806| PROOF of Claim Form For Disappearance Victims by Antonio G. Ariado by Anita A.
Grafilo

4807| PROOF of Claim Form For Disappearance Victims by Akmad Kansa by Kundi G. Kansa

4808) PROOF of Claim Form For Disappearance Victims by Consolatrix R. Dapilos by
Cesar Dapiios

4809, PROOF of Claim Form For Disappearance Victims by Lumenda Macabangen by Ishak
Macabangen

4810| PROOF of Claim Form For Disappearance Victims by Dionesia C. Guarda

4311; PROOF of Claim Form For Disappearance Victims by Julio Jaralbio by Juana E.
Jaralbio

4812! PROOF of Claim Form For Disappearance Victims by Leo Herbon by Luciano Leguin

4813; PROOF of Claim Form For Disappearance Victims by Teodoro A. Tuballas by Trencio
Tuballas

4314| PROOF of Claim Form For Disappearance Victims by Melecio Espana by Lucia Espana

4815] PROOF of Claim Form For Disappearance Victims by John Seva by Loreto Seva

4816, PROOF of Claim Form For Disappearance Victims by Uldarico ©. Manog by George P.
Manog

4817| PROOF of Claim Form For Disappearance Victims by Edsrael K. Buto by Ango K. Buto

4818] PROOF of Claim Form For Disappearance Victims by Crestes A. Cruz by Alejandra M.
Cruz

4819; PROOF of Claim Form For Disappearance Victims by Francisco P. Galit by Sofronia
D. Salit

4820; PROOF of Claim Form For Disappearance Victims by Teodore A,. Tuballas by Trencio}
Tuballas

4821) PROOF of Claim Form For Disappearance Victims by Francisco Tuballas by Trencio

Tuballas . .

4822| PROOF of Claim Form For Disappearance Victims by Abdullah 8. Gumander

4823; PROOF of Claim Form For Disappearance Victims by Ustadz Malawiya Kamag by
Asidza Dukay Kamag

4824| PROOF of Claim Form For Disappearance Victims by Welfredo Dela Fuente by Rogelio
O. Datario

4825) PROOF of Claim Form For Disappearance Victims by Rizal Batilles by Nido Batilles

4826; PROOF of Claim Form For Disappearance Victims by Francisco Tuballas by Trencio
Tuballas

4827| PROOF of Claim Form For Disappearance Victims by Roberto Lumelay Lanna by
Roberto Lumelay Lanna

4828) PROOF of Claim Form For Disappearance Victims by Robert Tobiano by Nena Gella
Tobiano

4829| PROOF of Claim Form For Disappearance Victims by Delfin C. Demandante by Romeo
V. Demandante

4830; PROOF of Claim Form For Disappearance Victims by Muguialat Nabadtozg

4831| PROOF of Claim Form For Disappearance Victims by Camila B. Gumander

4832) PROOF of Claim Form For Summary Execution Victims by Dominsdor L. Martinez by

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF > DEFENDANT

IN RE: ESTATE OF FERDINAND E. MARCOS ‘HUMAN RIGHTS LITIGATION

| DOCKET NO. MDL 840

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PROCEEDINGS

DATE NR.
1999 :
Apr 21 . 4833 PROOF of. Claim Form For Summary Execution Vietims by Adriano Dela Cruz by
Catalina Dela Cruz
/ 4834: PROOF of Claim Form For Summary Execution Victims by Impi Lumambas by Dagendengan
Lumambas
4835 | PROOF of Claim Form For Summary Execution Victims by Emmanuel G. Rosales by
; Segundina G. Rosales
, 4836 | PROOF of Claim Form For Summary Execution Victims by Roberto Cabacaba by Vicente
Cabacaba
: 4837 | PROOF of Claim Form For Summary Execution Victims by Arturo Tegio by Guillermo
Apuro and Norma Cidro
' 4838 PROOF of Claim Form For Summary Execution Victims by Arned Medallar by Exequiel
M. Medallar
4839 PROOF of Claim Form For Summary Execution Victims by Eleuteric Purto by
Eleuterio Puerto, Sr.
| 4840 | PROOF of Claim Form For Summary Execution Victims by Jorge Checa by Wevina Checa
4841 PROOF of Claim Form For Summary Execution Victims by Jesus G. Balagapo by Damiana
B. Jocosol
| 4842 , PROOF of Claim Form For Summary Execution Victims by Gleseria A. Balagapo by
Damiana B. Jocosol
4843 | PROOF of Claim Form For Summary Execution Victims by Tufca Mangonsiong by
Z4ainoin B. Mangonsiong
4844 | PROOF of Claim Form For Summary Execution Victims by Ruben Danguwas by Adelfa
P. Leonting
4845  PROGF of Claim Form For Summary Execution Victims by Alberto Leonting by Hermogenes
Leonting, Sr.
4846 | PROOF of Claim Form For Summary Execution Victims by Rosito Tadoc
4847 PROOF of Claim Form For Summary Execution Victims by Juanito Cube by Anita D.
Cube
4848 | PROOF of Claim Form For Summary Execution Victims by Jose Tan by Romulo Tan
4849 PROOF of Claim Form For Summary Execution Victims by Antonio Oyos, Jr. by
Violeta G. Oyos
4850 | PROOF of Claim Form For Summary Execution Victims by Datumanong Bansil by Sanglop
Bansil
4851 | PROOF of Claim Form For Summary Execution Victims by Miller C. Dadan by Pantaleon
BD. Dadan
4852 PROOF of Claim Form For Summary Execution Victims by Santos C. Deoligon by Erlinda
Doligen
4853 | PROOF of Claim Form For Summary Execution Victims by Petro Ebayan by Conrada P.
Cisista
4854 | PROOF of Claim Form For Summary Execution Victims by Diomesio Obiena Galindez by
Paz Galindez
4855 PROOF of Claim Form For Summary Execution Victims by Ungguia A. Saguidsilan by
Hao ji Abdulkadil A. Saguidsilan
4856 | PROOF of Claim Form For Summary Execution Victims by Batuling K. Gumander by
Acob A. Gumander
4857 | PROOF of Claim Form For Summary Execution Victims by Eulogio Aximar by Dionesio
Aximar
4858 | PROOF of Claim Form For Summary Execution Victims by Felipe Agustin by Resalia
Agustin
4859 | PROOF of Claim Form For Summary Execution Victims by Enrique Cabaruan by Marcelo
Cabaruan
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION | cocket no. MDL 840
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DATE NR, PROCEEDINGS
1999
Apr 21 4860} PROOF of Claim Form For Summary Execution Victims by Abdulkarim A. Santo by Kle
A. Santo
4861} PROOF of Claim Form Por Summary Execution Victims by Rolando Passion by Elena
Passion
4862! PROOF of Claim Form For Summary Execution Victims by Arelino Nocoz by Perfecto
Nocoz
4863| PROOF of Claim Form For Summary Execution Victims by Bibiano Fajardo by Marita
Vison Fajardo
4864) PROOF of Claim Form For Summary Execution Victims by Dawa Anggo by Uyag Dimalilay
4865! PROOF of Claim Form For Summary Execution Victims by Eduardo Bague by Pilar Bague
4866| PROOF of Claim Form For Summary Execution Victims by Ricardo B. Ordona
4867| PROOF of Claim Form For Summary Execution Victims by Alberto Itaas by Mamerto
N. Itaas
4868! PROOF of Claim Form For Summary Execution Victims by Amanteflor Argonza Torres,
Sr. by Irma M. Torres
4869, PROOF of Claim Form For Summary Execution Victims by Felipe Samar by Herminia Samar
Cabigayan
4870) PROOF of Claim Form For Summary Execution Victims by Norberto Locanilao by Cresercic
Locanilao
4871, PROOF of Claim Form For Summary Execution Victims by Guisa Abdulla by Hadji Hapiia
Abdulla
4872| PROOF of Claim Form For Summary Execution Victims by Guiabel Hadji Mohammad by
Hadji Bambay H. Mohammad
4873} PROOF of Claim Form For Summary Execution Victims by Francisco Balucan by Conrada
Balucan
4874/ PROOF of Claim Form For Summary Execution Victims by Celso D. Portugal by Henediga
Portugal
48751 PROOF of Claim Form For Summary Execution Victims by Ricardo Kipkipan by Julio
Kipkipan
4876: PROOF of Claim Form For Summary Execution Victims by Pedro Gallenero, Jr. by
Pedro Gallenero, Sr.
4877| PROOF of Claim Form For Summary Execution Victims by Alberto Domingo by Arsenia
Domingo
4878: PROOF of Claim Form For Summary Execution Victims by Silvestre M. Vijer by
Nicomedes N. Vijer, Sr.
4879| PROOF of Claim Form For Summary Execution Victims by Lourdes Garduce Lagman by
Felina P. Garduce
4880! PROOF of Claim Form For Summary Execution Victims by Modesto C. Sison by Eileen
B. Sison
4881) PROOF of Claim Form For Summary Execution Victims by Vicente Catayong Celada by
Gaudencia Catayong Celada
4882: PROOF of Claim Form For Summary Execution Victims by Victoria P. Baldejueza by
Lucia B. Rapirap
4883) PROOF of Claim Form For Summary Execution Victims by Julio CG. Perez, Atanacia
Giray Perez by Elena P. Getalado
4884| PROOF of Claim Form For Summary Execution Victims by Mauricio Duidulao by
Crisencia Duldulao
4885) PROOF of Claim Form For Summary Execution Victims by Vicente Catayong Celada
by Gaudencia C. Catayong
4886| PROOF of Claim Form For Summary Execution Victims by Carlito A. Baring by

Imelda A.

Baring

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DC LNA PagelD. 242
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CIVIL, DOCKET CONTINUATION SHEET
PLAINTIF® DEFENDANT
/ DOCKET No. MDL 840 __
IN RE: ESTATE OF FERDINAND E. MARCOS |HUMAN RIGHTS LITIGATION
i PAGE L79OF PAGES
DATE NRL: PROCEEDINGS
1999 —_—
Apr 2i 4887 PROOF of Claim Form For Summary Execution Victims by Teodoro T. Lebanto by
Erlinda B. Lebanto
: 4888 | PROOF of Claim Form For Summary Execution Victims by Pablito Ida by Eduardo Ida
| 4889 > PROOF of Claim Form For Summary Execution Victims by Calixto Mestas by Arclito
: Mestas Vidal .
4890 . PROOF of Claim Form For Summary Execution Victims by Nicanor R. Gonsales
/ 4891 PROOF of Claim Form For Summary Execution Victims by Oscar Emboy Apara by
Eustaqui Emboy Apara
, 4892 | PROOF of Claim Form For Summary Execution Victims by Amilil Antao by Guinaid U.
i Antao
4893 PROOF of Claim Form For Summary Execution Victims by Masuhoo B. Lumenda by Raida
Lumenda Montero
4894 | PROOF of Claim Form For Summary Execution Victims by Plaridel escalona Sanchez
: by Gilda E. Sanchez
. 4895 | PROOF of Claim Form For Summary Execution Victims by Ricardo L. Ariola by Imelda
i P. Ariola
4896 PROOF of Claim Form For Summary Execution Victims by Evangeline Puerto by
i Eleuterio Puerto
(4897 PROOF of Claim Form For Summary Execution Victims by Amabal Cio Enggubala
Samayutin by Guiamaludin Guiabal
' 4898 | PROOF of Claim Form For Summary Execution Victims by Ernesto Caro
4899 PROOF of Claim Form For Summary Execution Victims by Rogelio Abaincia Abegonia
by Remedios A. Abegonia
4900 | PROOF of Claim Form For Summary Execution Victims by Luciano Oriel Aningal by
Nelia Oriel Aningal
4901 | PROOF of Claim Form For Summary Execution Victims by Armelito Cabungcal Tamboong
: by Teresita A. Tamboong
4902 | PROOF of Claim Form For Summary Execution Victims by Jhon Sobal by Sangcopan
: Bansil
: 4903 | PROOF of Claim Form For Summary Execution Victims by Eduardo Dimacutag Suplico by
Narciso 8. Dimacutac
4904 | PROOF of Claim Form For Summary Execution Victims by Joel Plaquino by Lolita
B. Plaquino
4905 | PROOF of Claim Form For Summary Execution Victims by Remigildo Dalisay by Permina
Dalisay
4906 | PROOF of Claim Form For Summary Execution Victims by Julieto Cris S. Lumacso by
Vicenta L. Sido
4907 | PROOF of Claim Form For Summary Execution Victims by Domingo Paloray
4908 1 PROOF of Claim Form For Summary Execution Victims by Milquides Daan by Vivincio
Daan
4909 | PROOF of Claim Form For Summary Execution Victims by Aurelio Domocho, Jr.
4910 | PROOF of Claim Form For Summary Execution Victims by Cesar Etol by Agustina
Paloray
4911) PROOF of Claim Form For Summary Execution Victims by Jose. D. Babatio by Josefina
Babatio
4912 | PROOF of Claim Form For Summary Execution Victims by Redolfo Dela Cruz by Catalinp.
dela Cruz
4913 | PROOF of Claim Form For Summary Execution Victims by Mama B. Buka by Roxas B. Buca
4914 | PROOF of Claim Form For Summary Execution Victims by Aladin Salik by Johara Salik
4915 | PROOF of Claim Form For Summary Execution Victims by Gregorio L. Inso by Adelina
G. Inso
4916 | PROOF of Claim Form For Summary Execution Victims by Maglib Dalanda by Dido
Dalanda See Page 180

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(Rev. 1/75)
Civil. DOCKET CONTINUATION SHEET
PLAINTIFF DEFENCANT i

IN RE: ESTATE OF FERDINAND E. MARCOS ‘HUMAN RIGHTS LITIGATION
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| DOCKET No. MDL 840 __

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DATE NR. PROCEEDINGS
1999
Apr 21 4917) PROOF of Claim Form For Summary Execution Victims by Juanite Obiena Galindez by
Oliva Galindez
4918) PROOF of Claim Form For Summary Execution Victims by Winceslao Gonzaga by
Cristobal Gonzaga
4919| PROOF of Claim Form For Summary Execution Victims by Deding Malo Guianon by
Yasser S. Guianon, Sr.
4920| PROOF of Claim Form For Summary Execution Victims by Buto Alog Guianon by Yasser
8. Guianon
4921) PROOF of Claim Form For Summary Execution Victims by Abdulradjack $. Guianon by
Yasser §S. Guianon, Sr.
4922, PROOF of Claim Form For Summary Execution Victims by Vicente Q. Gabubas by
Violeta J. Gabubas
4923) PROOF of Claim Form For Summary Execution Victims by Eustaquio T. Gayud, Sr. by
Jovita C. Gayud
4924| PROOF of Claim Form For Summary Execution Victims by Fernando Tanallon by Fe
F. Tanallon
4925) PROOF of Claim Form For Summary Execution Victims by Raul Eustaquio by Maternidad
Eustaquio
4926| Statement by Meguil Capulas
4927| Statement by Susana P, Ladlad
4928; Statement by Antonio C. Abaya
22 49291 PROOF of Claim Form For Torture Victims by Antelmo L. Amatorio, Deceased by Aured
0, Amatorio
4930| PROOF of Claim Form For Torture Victims by Amie Cabrillos
4931; PROOF of Claim Form For Torture Victims by Noli M. Candido
4932) PROOF of Claim Form For Torture Victims by Francis 5S. Morales
4933; PROOF of Claim Form For Torture Victims by Cesar B. Garcia
4934| PROOF of Claim Form For Torture Victims by Santos T. Baste
4935| PROOF of Claim Form For Torture Victims by Lecifina D. Arce |
4936| PROOF of Claim Form For Torture Victims by Roberto Paclita Oblino
4937) PROOF of Claim Form For Torture Victims by Jose Esperanzate
4938| PROOF of Claim Form For Torture Victims by Bembinido Esperanzate, Deceased by
Consuelo Esperanzate
4939) PROOF of Claim Form For Torture Victims by Edison R. Fabila
4940; PROOF of Claim Form For Torture Victims by Eddie T. Cordero
4941) PROOF of Claim Form For Torture Victims by Camilo Zamora
4942) PROOF of Claim Form For Torture Victims by Edmund Mosquera, Deceased by Esperidiadn
Mosquera
4943) PROOF of Claim Porm For Torture Victims by Rudy Operio
4944; PROOF of Claim Form For Torture Victims by Nerio Florentino, Deceased by Filomena
Florentino
4945; PROOF of Claim Form For Torture Victims by Jonathan Agan
4946; PROOF of Claim Form For Torture Victims by Julio Candido
4947| PROOF of Claim Form For Torture Vierims by Felomine Gregorio
4948| PROOF of Claim Form For Torture Victims by Rodolfo Terrana
4949; PROOF of Claim Form For Torture Victims by Anacleto Terrana
4950; PROOF of Claim Form For Torture Victims by Agustin Pedro
4951] PROOF of Claim Form For Torture Victims by Gilbert Gregorio
4952| PROOF of Claim Form For Torture Victims by Ricardo Raymundo
4953/ PROOF of Claim Form For Torture Victims by Tonu Ramping

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CIVIL DOGKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
pocket No. MDE 840
IN RE: ESTATE OF FERDINAND E., MARCOS HUMAN RIGHTS LITIGATION
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DATE = NR. PROCEEDINGS
1999
/Apr 22 (4954 | PROOF of Claim Form For Summary Execution Victims by Anacleto Maguad by Rebecca
: Maguad
'4955 | PROOF of Claim Form For Summary Execution Victims by Magno Cabrillos by Advern
i §. Cabrillos
4956 ) PROOF of Claim Form For Summary Execution Victims by Lafredo 0. Bielza by Nicolas
B. Bielza
4957 | PROOF of Claim Form For Summary Execution Victims by Mama Amil by Kamarudan D.
Amil
4958 PROOF of Claim Form For Summary Execution Victims by Efraim Aspacio by Remedios
Aspacio
: 4959 | PROOF of Claim Form For Summary Execution Victims by Sammy Armonio
'4960 | PROOF of Claim Form For Summary Execution Victims by Merardo T. Arce by Liwayway
i i D. Arce
4961 | PROOF of Claim Form For Summary Execution Victims by Ernesto Mabanan Oblino by
' Maria Heroy Oblino
4962 PROOF of Claim Form For Summary Execution Victims by Expedito D. Chavez by
Restituto D. Chavez
4963 | PROOF of Claim Form For Summary Execution Victims by Mamerto T. Zaldivare, Jr. by
Editha Y. Zaldivar
4964 PROOF of Claim Form For Summary Execution Victims by Dometelo Absalon by Dolores
A. Gillegao
4965 | PROOF of Claim Form For Summary Execution Victims by David Agan by Rosie Agan
4966 | PROOF of Claim Form For Summary Execution Victims by Dan Edgar Villar by Pedro
0. Villar
4967 | PROOF of Claim Form For Summary Execution Victims by Janito Tublanosa by Simprosa
T. Esposo
4968 | PROOF of Claim Form For Summary Execution Victims by Vicente Gilua by Elsa Gilua
4969 | PROOF of Claim Form For Summary Execution Victims by Raymundo Patricio by Lolima
Patricio
4970 | PROOF of Claim Form For Summary Execution Victims by Marcelino Cabrillos by Adelina
Cabrillos
4971 | PROOF of Claim Form For Summary Execution Victims by Lazaro M. Occena by Fe M.
Occena
4972 | PROOF of Claim Form For Summary Execution Victims by Costudio Adesas by Crisanto
Ebaya
4973 | JOLNDER of Defendant Ferdinand E. Marcos In Class Counsel's Memorandum In
Opposition To The Motion To Recuse The Honorable Manuel L. Real From
Determining The Fairness of The Settiement And Class Counsel's Motion For
Attorneys’ Fees and Costs - [Cv 86-330, 86-390}
4974 | REPLY MEMORANDUM of Glass Counsel In Support of Their Joint Motion For Attorneys’
Fees And Reimbursement of Expenses; Exhibits A Through D; Certificate of
Service - [Cv 86-330, 86-390]
4975 |The Plaintiff Class' REPLY MEMORANDUM In Support of Motion For Final Approval of
Settlement Agreement; Certificate of Service ~ [Cv 86-330, 86-390]
4976 | SUPPLEMENTAL DECLARATION of Sherry P. Broder In Support of Class Counsel's Joint
Motion For Attorneys‘! Fees And Reimbursement of Expenses Filed 3/17/99;
Certificate of Service - [Cv 86-330, 86-390}
See Page 182

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OC 141A
(Rev. 1/75}
CIVIL, DOCKET CONTINUATION SHEET
> PLAINTIFF OEFENDANT
> pocket No. MDE 840 __
IN RE: ESTATE OF FERDINAND E. MARCOS {HUMAN RIGHTS LITIGATION
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DATE NR. PROCEEDINGS
1999
Apr 22 4977 OBJECTIONS To Alleged Evidence Submitted In Opposition To Sison/Piopongco
Plaintiffs' Fee Motion ~ on behalf of Sison/Piopongco Plaintiffs -
Cv 86-225, 87-138]
4978 |/REPLY BRIEF In Support of Motion For Attorneys’ Fees; Declaration of Paul L.
Hoffman, Ellen L. Lutz And Ralph G. Steinhardt - on behalf of Sison/Pioponged
Plaintiffs - [Cv 86-225, 87-138]
> 23 4979 Objectors' REPLY MEMORANDUM In Support of Motion For Recusal - on behalf of
Objectors Celsa Hilao, Adora Faye De Vera, Arturo Revilla, Renato Pineda,
Jose Duran, Paula Romero, Fidel Agcoaili, Juliete de Lima Sison, and Reverend
Cesar Taguba - [Cv 95-16145 (Hilao)]}
4980 JOINDER of Defendant Ferdinand E. Marcos In Class Counsel's Memorandum of Law In
Opposition To The Motion To Recuse The Honorable Manuel L. Real From
Determining The Fairness of The Settlement And Class Counsel's Motion For
Attorneys' Fees and Costs - [Cv 86-330, 86-390]
4981 NOTICE of Entry of Order [Order Granting Defendants' Motion to Strike Request to
Rewrite Settlement Agreement] - on behalf of Defendant Estate of Ferdinand
E. Marcos - [Cv 86-330, 86-390]
4982 ORDER DENYING Motion To Recuse The Honorable Manuel L. Real - [Relates to All
Cases] (ec; All Parties) MOLLWAY
4983} PROOF of Claim Form For Torture Victims by Cesar Aringo
4984; PROOF of Claim Form For Torture Victims by Florencio 0, Plana
4985) PROOF of Claim Form For Torture Victims by Ignacio Albenia, Deceased by John
Albenia
4986 | PROOF of Claim Form For Torture Victims by Junilito Revilla, Deceased by Lorgardea
Revilia
4987| PROOF of Claim Form For Torture Victims by Roberto Ardines
4988 PROOF of Claim Form For Torture Victims by Paterno Caputol, Deceased by Anastacia
L. Caputol
4989 PROOF of Claim Form For Torture Victims by Dionisio Mision, Deceased by Florencia
) Mision
4990 | PROOF of Claim Form For Torture Victims by Melchor Gclamit
4991! PROOF of Claim Form For Torture Victims by Rolando C. Marcelo
4992 | PROOF of Claim Form For Torture Victims by Oclarit E. Grecile
4993 PROOF of Claim Form For Torture Victims by Olympio Ebao
4994 | PROOF of Claim Form For Torture Victims by Ananias Yano
4995 | PROOF of Claim Form For Torture Victims by Doris Nuval-Baffrey
4996 PROOF of Claim Form For Torture Victims by Bruno A. Lindahay
4997 | PROOF of Claim Form For Torture Victims by Pacifico P. Acuram, Deceased by Basilik
Acuram
4998 | PROOF of Claim Form For Torture Victims by Mario N. Acuram, Deceased by Susana N.
Acuram
4999 | PROOF of Claim Form For Torture Victims by Antonio Escalante by Cristita Laurete
5000 | PROOF of Claim Form For Torture Victims by Romeo Lantang
5001 | PROOF of Claim Form For Torture Victims by Roberto Cababat by Florencia Cababat
53002 PROOF of Claim Form For Torture Victims by Valeriana K. Cinda
5003 | PROOF of Claim Form For Torture Victims by Leticia Labitoria Cabacungan
3004 | PROOF of Claim Form For Torture Victims by Rule N. Jumawid
5005 PROOF of Claim Form For Torture Victims by Elita Ponce Quinto
5006 PROOF of Claim Form For Torture Victims by Victor T. Quinto, Deceased by Lily
Liza P, Quinto See Page 183

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CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
pocket No. MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION
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DATE NR. | PROCEEDINGS
1999 :
Apr 23 5007 PROOF of Claim Form For Torture Victims by Antonio Conde Hubilla
5008 PROOF of Claim Form For Torture Victims by Walter P. Dacumos
| 5009) PROOF of Claim Form For Torture Victims by Ludisita §. Eguia
| 5010) PROOF of Claim Form For Torture Victims by Nestor M. Sumabong
| 3011; PROOF of Claim Form For Torture Victims by Danilo C. Tandoy
5012, PROOF of Claim Form For Torture Victims by Silverio G. Santander
5013: PROOF of Claim Form For Torture Victims by Recososa B. Hermogenes
_ 35014 PROOF of Claim Form For Terture Victims by Aledia Anding
. 9015) PROOF of Claim Form For Torture Victims by Alberto S$. Catubig
5016 PROOF of Claim Form For Torture Victims by Francisco N. Alumbre
5017: PROOF of Claim Form For Torture Victims by Florencio Cuadra
5018: PROOF of Claim Form For Torture Victims by Lolito Galope
5019 > PROOF of Claim Form For Torture Victims by Estilito Chiya by Yolanda Chiya
. 5020 PROOF of Claim Form For Torture Victims by Crispen Tabandija
: 5021, PROOF of Claim Form For Torture Victims by Dominador L. Senobio
: 5022 PROOF of Claim Form For Torture Victims by Romeo Mape, Sr. by Lourdes P. Mape
' 5023) PROOF of Claim Form For Torture Victims by Leon Mape by Lourdes P. Mape
5024: PROOF of Claim Form For Torture Victims by Becario A. Vinas
/ 5025) PROOF of Claim Form For Torture Victims by Svellano Bilang
5026; PROOF of Claim Form For Torture Victims by Miguil Lledo
5027, PROOF of Claim Form For Torture Victims by Rosalina C. Anacio
5028] PROOF of Claim Form For Torture Victims by Araceli Gamba~Soral
5029| PROOF of Claim Form For Torture Victims by Angel Mendaro
3030; PROOF of Claim Form For Torture Victims by Gil B. Cabigayan
5031; PROOF of Claim Form For Torture Victims by Crispiniano Pinongpong
5032| PROOF of Claim Form For Torture Victims by Anastacio C. Esguerra
' 5033] PROOF of Claim Form For Torture Victims by Ernesto Dumalti
5034, PROOF of Claim Form For Torture Victims by Tito Dumalti, Deceased by Alvino
Dumalti
: 5035; PROOF of Claim Form For Torture Victims by Herminigilda Lacerna
5036: PROOF of Claim Form For Torture Victims by Manuel C. Relorcasa
5037; PROOF of Claim Form Fer Torture Victims by Tomas G. Dequito
5038! PROOF of Claim Form For Torture Victims by Nemesio L. Coronel
5039; PROOF of Claim Form For Torture Victims by Rudolfo A. Orsolino
5040) PROOF of Claim Form For Torture Victims by Ernesto A. Cabacungan
5041: PROOF of Claim Form For Torture Victims by Juanito C. delos Reyes
. 5042) PROOF of Claim Form For Torture Victims by Guipar Tunggal
5043) PROOF of Claim Form For Torture Victims by Elena Jaictin
5044; PROOF of Claim Form For Torture Victims by Maximine D. Partiles
5045; PROOF of Claim Form For Torture Victims by Elmer C. Casiple
5046 PROOF of Claim Form For Torture Victims by Ponciano P. Ricamara
5047; PROOF of Claim Form For Torture Victims by Constancio M. Doller
5048; PROOF of Claim Form For Torture Victims by Vicente V. Palis
5049 PROOF of Claim Form For Torture Victims by Reymundo Agagen Dammay, Deceased by
Ester Dammay
5050| PROOF of Claim Form For Terture Victims by Edilberto Galope
5051! PROOF of Claim Form For Torture Victims by Marcos G. Mabahin
5052| PROOF of Claim Form For Torture Victims by Gonzalo B. Cabigayan
50531 PROOF of Claim Form For Torture Victims by Alberto Daganasol
5054: PROOF of Claim Form For Torture Victims by Aida F. Santos-Maranan
5055! PROOF of Claim Form For Torture Victime by Dionisio L. Aguado

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CIVIL DOCKET CONTINUATION SHEET
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D pocket no. MDL 840 |

IN RE: ESTATE OF FPERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION
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DATE | NR. PROCEEDINGS

i999
Apr 23 5056; PROOF of Claim Form For Torture Victims by Pacifico Casaba, Sr. by Leonilo Casaba
5057; PROOF of Claim Form For Torture Victims by Date Datu Cosain Macaombao by
Abdulnasser Z. Arimao
5058 PROOF of Claim Form For Torture Victims by Clemente Cadilena Espinoza
5059! PROOF of Claim Form For Torture Victims by Virgilio P. Eguia
5060 PROOF of Claim Form For Torture Victims by Hersham Arnado Allego
506L!PROOF of Claim Form For Torture Victims by Leticia Labitoria Cabacungan
D 5062;PROOF of Claim Form For Torture Victims by Emma C. Segovia
5063 |/PROOF of Claim Form For Torture Victims by Edilberto L. Alde
5064 |/PROOF cf Claim Form For Torture Victims by Ignacio Tomatao, Deceased by Visitacion
Badayos~Tomatao
5065; PROOF of Claim Form For Torture Victims by Artemio B. Geverola
5066;PROOF of Claim Form For Torture Victims by Dulcesimo R. Suaner
5067 ;:PROOF of Claim Form For Torture Victims by Arellano R. Mejia
5068/PROOF of Claim Form For Torture Victims by Sergio Revilleza
5069/PROOF of Claim Form For Torture Victims by Francisco Ballasta
5070 PROOF of Claim Form For Torture Victims by Dominador 0. Datario
SO71/PROOF of Claim Form For Torture Victims by Domingo Baldenero Cantos, Deceased by
Leonila Cejo Cantos
5072/ PROOF of Claim Form For Torture Victims by Bienvinido Manaya
3073|PROOF of Claim Form For Torture Victims by Claro P. Burgos
5074|/PROOF of Claim Form For Torture Victims by Ceasar G. Gavanzo, Deceased by Rosario
G. Gavanzo
5075 PROOF of Claim Form For Torture Victims by Daniel Japitana
5076/PROOF of Claim Form For Torture Victims by Simplicio B. Impuerto, Deceased by
Concepcion IE. Bato
5077|PROOF of Claim Form For Torture Victims by Gualterio N. Florendo
5078|/PROOF of Claim Form For Torture Victims by Luceno Gonzaga
5079|PROOF of Claim Form For Torture Victims by Ruperto Comaman
5080!PROOF cf Claim Form For Torture Victims by Aladdo Cole
5G81)/ PROOF of Claim Form For Torture Victims by Panalag Sendad
5082)PROOF of Claim Form For Torture Victims by Jimmy Mabida
> 5083|PROOF of Claim Form For Torture Victims by Juaquin C. Bagundol
5084) PROOF of Claim Form For Torture Victims by Loreto A. Angcap
5085|PROOF of Claim Form For Torture Victims by Victoriano A. Ibay, Deceased by
Mangrubang A. Ibay
5086|PROOF of Claim Form For Torture Victims by Henry F. Padilla
5087;/PROOF of Claim Form For Torture Victims by Gregorio Estimada
5088/PROOF of Claim Form For Torture Victims by Melchor G. Genavia
5089|PROOF of Claim Form For Torture Victims by Vivencio De Mesa
5090 PROOF of Claim Form For Torture Victims by Jesus Fernando
5091; PROOF of Claim Form For Torture Victims by Rustico B. Peleno
5092|PROOF of Claim Form For Torture Victims by Celso Daclag -
5093|PROOF of Claim Form For Torture Victims by Zenaida Salientes Mique
5094|PROOF of Claim Form For Torture Victims by Gabriel Flores Hequin
5095|/PROOF of Claim Form For Torture Victims by Paz Balcalso Hequin
5096) PROOF of Claim Form For Torture Victims by Nemesio R. Hagop, 5r.
5097/ PROOF of Claim Form For Torture Victims by Americo Disquitado
5098|PROOF of Claim Form For Torture Victims by Juanito Pabilane Giodo
5099/PROOF of Claim Form For Torture Victims by Leocadio G. Maderazo
5100/PROOF of Claim Form For Torture Victims by Cadilon Panalangin

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PagelD.248
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CIVIL DOCKET CONTINUATION SHEET

BLAINTIFE - DEFENDANT
' DOCKET NO. MDL B40
/IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION
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DATE NR, PROCEEDINGS

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| Apr 23° | $101 PROOF of Claim Form For Torture Victims by Abusama D. Manisi
5102 PROOF of Claim Form For Torture Victims by Rufino Doronio, Sr.
5163 PROOF cf Claim Form For Torture Victims by Santiago Solane
5104 PROOF of Claim Form For Torture Victims by Crisanto C. Dagasohan
' 51065 PROOF of Claim Form For Torture Victims by Bienvenido P. Ricamara
5106 PROOF of Claim Form For Torture Victims by Henry Borjal Cerdenia
: 5107 PROOF of Claim Form For Torture Victims by Oscar E. Tonog, Deceased by Aleli Tonog
De Mauro
53108 PROOF of Claim Form For Torture Victims by Narciso A. Pabua, Jr., Deceased by
i Coripina G. Pabua
5109 PROOF of Claim Form For Torture Victims by Elito B. Terrazola
5110 PROOF of Claim Form For Torture Victims by Jaime P. Acuram, Deceased by Susana N.

Acuram
: 5111 PROOF of Claim Form For Torture Victims by Eufronio L. Maybuena, Sr.
: 5112 PROOF of Claim Form For Torture Victims by Lucio S. Flores
: 5113 PROOF of Claim Form For Torture Victims by Tiburcio Cahigas, Deceased by Celestino
: CGahigas
5114 PROOF of Claim Form For Torture Victims by Herman E. Ballesteros
5115 PROOF of Claim Form For Torture Victims by Luis Cambronero, Jr.
5116 PROOF of Claim Form For Torture Victims by Nestor B. Tarrosa, Jr.

5117 PROOF of Claim Form For Torture Victims by Dominador D. Monterola, Deceased by
Leonila Tapdasan and Anselma Monterola

5118 (PROOF of Claim Form For Torture Victims by Carlo L. Aguhob

5119 PROOF of Claim Form For Torture Victims by Elias Hermogenes

5120 PROOF of Claim Form For Torture Victims by Rodolfo Buenavista

S121 PROOF of Claim Form For Torture Victims by Myrna S. Dumape, Deceased by Moises I.
Dumape, Jr.

3122 PROOF of Claim Form For Torture Victims by Marsaldo Gamba

5123 PROOF of Claim Form For Torture Victims by Hadji Patah Abdulgani Bansil

2124 PROOF of Claim Form For Torture Victims by Esmail Panalangin, Deceased by Cadilon
Panalangin

5125 PROOF of Claim Form For Torture Victims by Eisman Tagigaya

| 5126 PROOF of Claim Form For Disappearance Victims by Omar Marcaban by Dalia Marcaban
3127 PROOF of Claim Form For Disappearance Victims by Roberto Villariez by Imelda
Villariez Peras

| 51428 PROOF of Claim Form For Disappearance Victims by Rodrigo $. Lucaban by Leoncia
Lucaban

5129 PROOF of Claim Form For Disappearance Victims by Francisco L. Labrador by Carmelite
L. Labrador
5130 PROOF of Claim Form For Disappearance Victims by Francisco L. Labrador by Carmelith
L. Labrador

5131 PROOF of Claim Form For Disappearance Victims by Leonardo Sumagang by Trinidad R.
Sumagang

5132 PROOF of Claim Form For Disappearance Victims by Ramon V. Jasul by Carmen V. Jasul
5133 PROOF of Claim Form For Disappearance Victims by Christopher B. Celicious by
Alfredo B. Celicious

5134 PROOF of Claim Form For Disappearance Victims by Mahmod H. Ali by Mahimod H. Ali
5135 PROOF of Claim Form For Disappearance Victims by David C. Cabiana by Ruben G.
Cabiana

5136 PROOF of Claim Form For Disappearance Victims by Kandayog A. Pendature by Bai Giom
A. Kindo

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CIVIL DOCKET CONTINUATION SHEET

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1999
Apr 23 5137 PROOF of Claim Form For Disappearance Victims by Juanito F. ABalos by Segundina
F, Abalos

5138!PROOF of Claim Form For Disappearance Victims by Edward Manzano by Rozita Manzano
5139) PROOF of Claim Form For Disappearance Victims by Telesporo C. Doculan by Perfecta
Cc. Doculan
5140| PROOF of Claim Form For Disappearance Victims by Zoile Francisco by Ida F. Torres
5141 PROOF of Claim Form For Disappearance Victims by Delfin 0. Moslares by Gertrude N,.
> Moslares

5142) PROOF of Claim Form For Disappearance Victims by Reynaldo Bula by Eleuterio Bula
5143 PROOF of Claim Form For Disappearance Victims by Catalino Bajado by Violita Bajadq
5144 PROOF of Claim Form For Disappearance Victims by Floro Lasula by Nicanor L. Lasuld
5145) PROOF of Claim Form For Disappearance Victims by Gaudencio Medina by Luciano A.

Quezam
5146) PROOF of Claim Form For Disappearance Victims by Tiborcio H. Cubol by Fedelina
H. Cubol
5147 PROOF of Claim Form For Disappearance Victims by Lourdes Y. Samson by Preciosa Y.

| Samson
3148| PROOF of Claim Form For Disappearance Victims by Julieto Doedoc by Maria Docdoc

5149) PROOF of Glaim Form For Disappearance Victims by Roberto Bantilan by Marcelina

Bantilan
> 5150) PROOF of Claim Form For Disappearance Victims by Manzano M. Bayang by Jahara M.
Bayang
5151) PROOF of Claim Form For Disappearance Victims by Marcelino Balido by Bart Balido
5152) PROOF of Claim Form For Disappearance Victims by Helario D. Malanday by Ervina M.
Indag
5153) PROOF of Claim Form For Disappearance Victims by Gilberto Sumagang by Lauriano
Suma gang
5154) PROOF of Claim Form For Disappearance Victims by Serafin Albia by Elina V. Albia
5155; PROOF of Claim Form For Disappearance Victims by Roberto Villariez by Imelda
Villariez Peras
5156|PROOF of Claim Form For Disappearance Victims by Bienvinido S. Catubig by Cataling
) Catubigz

3157) PROOF of Claim Form For Summary Execution Victims by Caledio Alivio by Maximo
Alivio
5158) PROOF of Claim Form For Summary Execution Victims by Felix M. Pasco by Paulina M.

Pasco
5159| PROOF of Claim Form For Summary Execution Victims by Mateo C. Olivar by Thelma 5.

Olivar

5160/ PROOF of Claim Form For Summary Execution Victims by Junile L. Turno by Afra L.
Furno

5161; PROOF of Claim Form For Summary Execution Victims by Bonifacio R. Baloro by
Arcelina Baloro-Moquiala

5162| PROOF of Claim Form For Summary Execution Victims by Enemesio A. Neri by Sagrada

¥. Neri
3163) PROOF of Claim Form For Summary Execution Victims by Camilo R. Rubia by Epifania

F. Rubia
) 5164| PROOF of Claim Form For Summary Execution Victims by Lucia C. Baloro by Arcelita

Baloro-Moquiala
5165! PROOF of Claim Form For Summary Execution Victims by Antonio Leguin by Pacita J.
Palada

5166) PROOF of Claim Form For Summary Execution Victims by Gina Bajado by Rosie Bajado-

Catudio

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Apr 23 5167 PROOF of Claim Form For Summary Execution Victims by Floro Beros by Rosario M.
Beros
5168 PROOF of Claim Form For Summary Execution Victims by EZEsterlito Saganay by Magdalina
J, Saganay :
5169 PROOF of Claim Form For Summary Execution Victims by Gregorio Oclarit by Precela
E. Oclarit
5170 (PROOF of Claim Form For Summary Execution Victims by Cecelio Anaque by Puriza 5.
Anaque
S171 PROOF of Claim Form For Summary Execution Victims by Carlos P. Alona-ed by
Esterlita B. Timcang
5172 PROOF of Claim Form For Summary Execution Victims by Efren 5. Rusiana by Fermina
8. Rusiana
5173 PROOF of Claim Form For Summary Execution Victims by Domingo Leguin, Jr. by Rogeli:
Leguin
5174 PROOF of Claim Form For Summary Execution Victims by Leopoldo Anes, Sr. by Basilia
E. Anos
5175 PROOF of Claim Form For Summary Execution Victims by Herminigildo S. Damu-ag by
Prima F. Damu-ag
5176 PROOF of Claim Form For Summary Execution Victims by Orlando P. Reyes by Dolores
P. Reyes
_ 3177 PROOF of Claim Form For Summary Execution Victims by Jose Pelvera, Jr. by Santas
i Lumingkit
: 5178 PROOF of Claim Form For Summary Execution Victims by Consercio Bagaslao by
Florencia L. Bagaslao
5179 PROOF of Claim Form For Summary Execution Victims by Rogelio Bunsalao by Gregorio
B. Candao
5180 PROOF of Claim Form For Summary Execution Victims by Pedro Torres by Marcela Torre
5181 PROOF of Claim Form For Summary Execution Victims by Cresenciano Dionaldo by
Esterlita Dionaldo
5182 PROOF of Claim Form For Summary Execution Victims by Filex A. Uriarte by Lope D.
Uriarte
5183 PROOF of Claim Form For Summary Execution Victims by Lun Balicao, Marina Balagbag
by Mario Balicao
5184 PROOF of Claim Form For Summary Execution Victims by Salvador M. Surban by Maria
Saganay Surban
5185 PROOF of Claim Form For Summary Execution Victims by Arsenio Omongos by Alexander
Lapinig
5186 PROOF of Claim Form For Summary Execution Victims by Mauricio Sarandi by Ofelia S$.
Ruiz
5187 !PROOF of Claim Form For Summary Execution Victims by Tinda Sanig by Ubid S$. Sanig
5188 [PROOF of Claim Form For Summary Execution Victims by Luiz Diwayan by Fermina
Diwayan
5189 PROOF of Claim Form For Summary Execution Victims by Myra Bajado by Rosie Bajado-
Catudio
5190 PROOF of Claim Form For Summary Execution Victims by Romeo Mape, Jr. by Lourdes
P. Mape
5191 |PROOF of Claim Form For Summary Execution Victims by Emilita 8. Tabontabon by
Editha 8. Tabontabon
5192 [PROOF of Claim Form For Summary Execution Victims by Eulogio Marcial by Juan
Marcial
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~ PLAINTIFF . DEFENDANT
i DOCKET NO. _MBL 840.
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PAGE 188oF PAGES
DATE NR. PROCEEDINGS
1999

Apr 23 5193| PROOF of Claim Form For Summary Execution Victims by Rogelio Marcial by Juan Marck

3194, PROOF of Claim Form For Summary Execution Victims by Jovencio A. Relativa by

Mamerta A. Relativo

5195; PROOF of Claim Form For Summary Execution Victims by Andres Sarmiento by Fe B.

Sarmiento

5196] PROOF of Claim Form For Summary Execution Victims by Rowel Omandam by Julieta M.

Omandam /

> 5197} PROOF of Claim Form For Summary Execution Victims by Felix Gungob, II by Felix
Alivio

5198] PROOF of Claim Form For Summary Execution Victims by Rogelio Labang by Marlyn

Ligao

5199/ PROOF of Claim Form For Summary Execution Victims by Cualberto Camelion by

Margarita ¢. Camelion

5200] PROOF of Claim Form For Summary Execution Victims by Felipe Saganay, Sr. by

Cerina Saganay
3201) PROOF of Claim Form For Summary Execution Victims by Ronelo Santa Ana by Leonarda

Santa Ana
5202) PROOF of Claim Form For Summary Execution Victims by Rodolfo Montealto by Enecita
Montealto
D 5203] PROOF of Claim Form For Summary Execution Victims by Juanito Suarez, Jr. by Romeo
Suarez

5204; PROOF of Claim Form For Summary Execution Victims by Akan Aton by Kamutan Ampatuah
5205; PROOF of Claim Form For Summary Execution Victims by Welson B. Balagat, Roger G.
Balagat by Perlita G. Balagat

2206) PROOF of Claim Form For Summary Execution Victims by Matilde Bajado by Rosie Ba jaf
Catudia

5207) PROOF of Claim Form For Summary Execution Victims by Leopoldo D. Agbonesa by
Felicinana D. Agbonesa

5208] PROOF of Claim Form For Summary Execution Victims by Eleuterio Laurino by
Celestina L. Laurino

5209] PROOF of Claim Form For Summary Execution Victims by Dario L. Tul-id by Dionecia

L. Tul~id
) 5210] PROOF of Claim Form For Summary Execution Victims by Guillermo Caluza by Rodolfo
Caluza
5211; PROOF of Claim Form For Summary Execution Victims by Dionesio Aballe by Antonia
Cc. Aballe

5212| PROOF of Claim Form For Summary Execution Victims by Robertson Bonacker, Sr. by
Luz BD. Bonacker

5213} PROOF of Claim Form For Summary Execution Victims by Ishmael Quinpo, Jr. by
Cristina P. Bawagan

5214) PROOF of Claim Form For Summary Execution Victims by Julito Katipoman by Samuel
Kat ipoman

5215, PROOF of Claim Form For Summary Execution Victims by Maximo. Ida. by Ida Vevencia
5216; PROOF of Glaim Form For Summary Execution Victims by Tiopico G. Hapon by Celso

R. Hapon
5217) PROOF of Claim Form For Summary Execution Victims by Joselito Arzadon by Dionicial

Arzadon

39218) PROOF of Claim Form For Summary Execution Victims by Angelina Lape by Flora Lape
5219{ PROOF of Claim Form For Summary Execution Victims by Claro Monares by Alma Monares
5220| PROOF of Claim Form For Summary Execution Victims by Kambi Baonga by Talib Wahib

Baonga

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1999 |
Apr 23. 5221 PROOF of Claim Form For Summary Execution Victims by Dakungan Kasim by Sulaiman
T. Kasim
| 5222 PROOF of Claim Form For Summary Execution Victims by Madidis Hadji Esmail by Salin
Hadji Esmail .
5223 | PROOF of Claim Form For Summary Execution Victims by Sakukong Kasim by Sulaiman
T. Kasim
: 2224 PROOF of Claim Form For Summary Execution Victims by Datu Abdula A. Malang by
i Datu Isa M. Abdula
' 5225 PROOF of Claim Form For Summary Execution Victims by Makasulay Malang by Isa M.
Abdula
5226 PROOF of Claim Form For Summary Execution Victims by Marsaliza Sigue by Anacoreta
: : Sohon
, 9227 PROOF of Claim Form For Summary Execution Victims by Arnol Lumacad by Juanito
: Lumacad Vale
° 9228 PROOF of Claim Form For Summary Execution Victims by Antonio V. Baldomaro
' 5229 PROOF of Claim Form For Summary Execution Victims by Teresa Rosalin Hapon by
Celsa R. Hapon
3230 | PROOF of Claim Form For Summary Execution Victims by Milagros Lorana Catamin by
Sulpicio L. Catamin
5231 |PROOF of Claim Form For Summary Execution Victims by Alejandro M. Piedad by
Elizabeth I. Piedad
5232 |PROOF of Claim Form For Summary Execution Victims by Benjamin B. Terrazola, Jr.
by Elito B. Terrazola
5233 | PROOF of Claim Form For Summary Execution Victims by Dionesio D. Famor by Lolita
Famor
5234 |PROOF of Claim Form For Summary Execution Victims by Feliciano L. Francisco by
Leona G. Francisco
5235 | PROOF of Claim Form For Summary Execution Victims by Domingo Dagatan by Cirpiana
D. Bagundol
5236 PROOF of Claim Form For Summary Execution Victims by Bonifacio Campanir by
Alejandro Campanir
5237 |} PROOF of Claim Form For Summary Execution Victims by Luzmindo Baroro by Librado
C. Baroro
| 5238 |PROOF of Claim Form For Summary Execution Victims by Felix Panares Ronulo by
Alberto Ronulo
5239 |/PROOF of Claim Form For Summary Execution Victims by Elpedio M. Pitogo, Sr. by
Erlinda A. Pitogo
5240 | PROOF of Claim Form For Summary Execution Victims by Candido T. Lopez, Sr. by
Pedro Cabilan, Sr.
5241 |; PROOF of Claim Form For Summary Execution Victims by Alfredo V. Jasul by Carmen
V. Jasul
5242 | PROOF of Claim Form For Summary Execution Victims by Meguel Jaromay by Amgeles J.
Salvador .
5243 | PROOF of Claim Form For Summary Execution Victims by Amin Balogan by Latifa
Balogan Demaguil
5244 |PROOF of Claim Form For Summary Execution Victims by Ponsiano Kasim
5245 | PROOF of Claim Form For Summary Execution Victims by Abpi Dalping Adzal by
Ibrahim Adzal
5246 | PROOF of Claim Form For Summary Execution Victims by Arcadio Balicao by Carmen
Balicao
5247 |PROOF of Claim Form For Summary Execution Victims by Amador Magno by Dolores M.
Magna

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PLAINTIFF "DEFENDANT
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IN RE: ESTATE OF FERDINAND E. MARCOS (HUMAN RIGHTS LITIGATION
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DATE NR. PROCEEDINGS
1999 —

Apr 23 9248, PROOF of Claim Form For Summary Execution Victims by Pedro QObor by Pablito Oblino
5249) PROOF of Claim Form For Summary Execution Victims by Francisco Zoilo by Ida F.

Torres
5250; PROOF of Claim Form For Summary Execution Victims by Casiano $. Amoyan by Maria

&. Amoyan
5251] PROOF of Claim Form For Summary Execution Victims by Ramie L. Moslares by Violita

Vda De Moslares
>» 5252] PROOF of Claim Form For Summary Execution Victims by Diogenes 8. Oares by

Hermelina G. Oares
5253; PROOF of Claim Form For Summary Execution Victims by Fedelino Bajado by Rosie

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5254! PROOF of Claim Form For Summary Execution Victims by Nicolas Ordones by Francisco

Ordones

5255! PROOF of Claim Form For Summary Execution Victims by Leonil G. Mabanan by Lilia
G. Mabanan

3256! PROOF of Claim Form For Summary Execution Victims by Anastacio Sigue by Cristitutp
Sigue

5257) PROOF of Claim Form For Summary Execution Victims by Maximo Gabiana by Estelita
Labine

9258] PROOF of Claim Form For Summary Execution Victims by Martin E. Barrameda by

D Asuncion Barrameda
5259) PROOF of Claim Form For Summary Execution Victims by Makog Akang by Samrah Akang

5260; PROOF of Claim Form For Summary Execution Victims by Jose Pelvera, Sr. by Santas

Lumingkit

5261, PROOF of Claim Form For Summary Execution Victims by Naro Oroa alias Nanong by

Sinforrosa L. Oroa

5262) PROOF of Claim Form For Summary Execution Victims by Romulo Gabac by Realina

Gabac

5263) PROOF of Claim Form For Summary Execution Victims by Edgardo B. dela Cruz and

Jonathan dela Cruz by Mercedita C. Escalada nee dela Cruz

5264; PROOF of Claim Form For Summary Execution Victims by Eutequio Leguin by Rogelio
Leguin

) 5265) PROOF of Claim Form For Torture, Disappearance, Summary Execution Victims by

: Roberto Y. de Leon

5266) PROOF of Claim Form For Torture, Disappearance, Summary Execution Victims by

Judy Rita Montelibando Diel

5267) PROOF of Claim Form For Torture, Disappearance, Summary Execution Victims by

David Diel

3268: STATEMENT by Aaron T. Castro

3269|/ STATEMENT by Sinforosa L. Oroa

5270; STATEMENT by Elito B. Terrazola

26 5271|Notice of Filing of Original Signed Declaration of Ellen L. Lutz, A Copy of Which

Was Attached To Reply Brief In Support of Motion For Attorneys' Fees;

Declaration of Paul L. Hoffman, Ellen L. Lutz and Ralph G. Steinhardt - on

behalf of Sison/Piopongco Plaintiffs - [Relates ta Sison/Piopongeo Cases]

9272) PROOF of Claim Form For Torture Victims by Juanito B. Caliquez

3273/PROOF of Claim Form For Torture Victims by Efren Cantillaer Embucado

3274) PROOF of Claim Form For Torture Victims by Concordio Merafuentes

5275|PROOF of Claim Form For Torture Victims by Osias G. Alba, Jr.

5276|PROOF of Claim Form For Torture Victims by Alexander B. Dayaan, Sr.

3277;PROOF of Claim Form For Torture Victims by Victoriano M. Libao

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DATE NR, PROCEEDINGS
1999
Apr 26 5278 | PROOF of Ciaim Form For Torture Victims by Felipe Janoras
| 5279 PROOF of Claim Form For Torture Victims by Norma L. Danag
5280 PROOF of Claim Form For Torture Victims by Crisanto A. Dian
5281 PROOF of Claim Form For Torture Victims by Arsenio C. Casipong
/ 5282 PROOF of Claim Form For Torture Victims by Rolando Onsenes, Deceased by Carina
L. Onsenes
| 5283 | PROOF of Claim Form For Torture Victims by Antonio Yanong
5284 PROOF of Claim Form For Torture Victims by Alejandro B. Peras, Sr.
/ 5285 PROOF of Claim Form For Torture Victims by Gerardo Dela Cruz
' 5286 PROOF of Claim Form For Torture Victims by Mamolto Barcellano
3287 ° PROOF of Claim Form For Torture Victims by Yulofrede H. Magsalay, Jr.
5288 , PROOF of Claim Form For Torture Victims by Hilario C. Dalman
_ 3289 PROOF of Claim Form For Torture Victims by Felicisimo Decierdo
/5290 PROOF of Claim Form For Torture Victims by Julito A. Dalit
' 3291 : PROOF of Claim Form For Torture Victims by Felipe I. Arevalo
5292 | PROOF of Claim Form For Torture Victims by Efren L. Mendoza
3293 PROOF of Claim Form For Torture Victims by Winnie Arcayna
5294 . PROOF of Claim Form For Torture Victims by Ireneo Orc Berdin, Deceased by Corazon
Bh. Berdin
5295 PROOF of Claim Form For Torture Victims by Carmilita D. Cerbito
3296 | PROOF of Claim Form For Torture Victims by Mamerto Limbo, Jr.
3297 | PROOF of Claim Form For Torture Victims by Primitivo P. Castillo
5298 | PROOF of Claim Form For Torture Victims by Floro Beros
3299 PROOF of Claim Form For Torture Victims by Domingo E. Cabrera
3300 | PROOF of Claim Form For Torture Victims by Danilo A. Barrios
2301 | PROOF of Claim Form For Torture Victims by Eliseo Lazaga
5302 ; PROOF of Claim Form For Torture Victims by Mabini D. Arboleda
5303 PROOF of Claim Form For Torture Victims by Mario F. Ben
5304 | PROOF of Claim Form For Torture Victims by Nenita Beldad Velasco
5305 | PROOF of Claim Form For Torture Victims by Maximo Abadiano
5306 | PROOF of Claim Form For Torture Victims by Rogelia Paclita
5307 | PROOF of Claim Form For Torture Victims by Alfredo C. Pescadero
5308 PROOF of Claim Form For Torture Victims by Felicismo Abuda Dacaynos, Deceased by
Beatriz D. Dacara
3309 | PROOF of Claim Form For Torture Victims by Maria Fe Marfil
/ 9310 | PROOF of Claim Form For Torture Victims by Ernesto Abaigar
5311 | PROOF of Claim Form For Torture Victims by Guillermal Pelare
3312 | PROOF of Claim Form For Torture Victims by Fely B. Rico
5313 | PROOF of Claim Form For Torture Victims by Ludie Gallardo-Montemor
5314 PROOF of Claim Form For Torture Victims by Mauro Y. Alcano
3315 | PROOF of Claim Form For Torture Victims by Nestor C. Montemor
5316 | PROOF of Claim Form For Torture Victims by Toribio Domoyan Sambiog
5317 | PROOF of Claim Form For Torture Victims by Leonila L. Lising
5318 | PROOF of Claim Form For Torture Victims by Mariano Lonez
5319 | PROOF of Claim Form For Torture Victims by Viectorico Barro, Jr.
5320 | PROOF of Claim Form For Torture Victims by Bartolome Escarda
5321 | PROOF of Claim Form For Torture Victims by Constantino Macalindro
5322 | PROOF of Claim Form For Torture Victims by Prudencia Y Cabrillas Rafaeles
3323 | PROOF of Claim Form For Torture Victims by Tita Perez Lubi
3324 | PROOF of Claim Form For Torture Victims by Ubaldo Hagupit
5325 | PROOF of Claim Form For Torture Victims by Feliciano B. Versoza
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‘IN RE: ESTATE oF PERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION

DATE | NRL. PROCEEDINGS

1999

Apr 26 PROOF of Claim Form For Torture Victims by Dangatan 0. Sandig
» PROOF of Claim Form For Torture Victims by Alfredo A. Paglinawan
5328) PROOF of Claim Form For Torture Victims by Pelagio Gabiana
5329| PROOF of Claim Form For Torture Victims by Virginia Dacuma Gabar
5330) PROOF of Claim Form For Torture Victims by Abas §M. Kusa, Deceased by Esmael N,
i Abas

5331) PROOF of Claim Form For Torture Victims by Pablo KE. Botor, Deceased by Celeste

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5332) PROOF of Claim Form For Forture Victims by Fernando S. Reyes
5333) PROOF of Claim Form For Torture Victims by Jaime §. Saberon
' 5334! PROOF of Claim Form ¥or Torture Victims by Paz Tabotabo Salazar
| $335) PROOF of Claim Form For Torture Victims by Amelito M. Abad
| 5336; PROOF of Claim Form For Torture Victims by Consorcio Lopez
| 5337) PROOF of Claim Form For Torture Victims by Simplicio M. Santos
2338) PROOF of Claim Form For Torture Victims by David M. Santas
5339} PROOF of Claim Form For Torture Vietims by Rufo Trazona
| 3340) PROOF of Claim Form For Torture Victims by Matilde A. Demelino
| 5341) PROOF of Claim Form For Torture Victims by Narciso Gutao Sandayan
5342} PROOF of Claim Form For Torture Victims by Jose Milan Soliva
D 5343; PROOF of Claim Form For Torture Victims by Leo U. Ototan

5344; PROOF of Claim Form For Torture Victims by Edwin Q. Cutin

5345; PROOF of Claim Form For Torture Victims by Renato G. Carno

5346| PROOF of Claim Form For Torture Victims by Rey D. Lauron

5347) PROOF of Claim Form For Torture Victims by Manuel Lazaga

5348; PROOF of Claim Form For Torture Victims by Emmanuel A. Caraig, Deceased by

Reynadlo A. Caraig
5349| PROOF of Claim Form For Torture Victims by Trotimo S. Elip, Deceased by Marcelind

P., Elip

5350; PROOF of Claim Form For Torture Victims by Benjamin M. Callao, Deceased by Rogelio
E. Callao

5351! PROOF of Claim Form For Torture Victims by Amado Morillo, Deceased by Lolita
Morillo

5352, PROOF of Claim Form For Torture Victims by Felipe C. Brucal
5353] PROOF of Claim Form For Torture Victims by Francisco Bautista Tormo
3354) PROOF of Claim Form For Torture Victims by Hérminigildo de Chavez
5335, PROOF of Claim Form For Torture Victims by Lucy Tampipi Bagarino
3356] PROOF of Claim Form For Torture Victims by Fredeswindo B. Arojo
3357| PROOF of Claim Form For Torture Victims by Albino 0. Sipocet
5358| PROOF of Claim Form For Torture Victims by Leonides Lauriente
5359, PROOF of Claim Form For Torture Victims by Faustino V. Samonte
5360| PROOF of Claim Form For Torture Victims by Jose M. Mores, deceased by Loreta M.
Ignacio
5361] PROOF of Claim Form For Torture Victims by Henry Ong Laurel
5362| PROOF of Claim Form For Torture Victims by Pastor Sabornido, Jr.
5363| PROOF of Claim Form For Torture Victims by Rudy Tampipi
) 5364) PROOF of Claim Form For Torture Victims by Julieta M. Narca
5365) PROOF of Claim Form For Torture Victims by Tomas Z.N. Mabana, IV
5366/ PROOF of Claim Form For Torture Victims by Leonisa C. Pagodaran
5367) PROOF of Claim Form For Torture Victims by Philip Espiritu Limjoce
3368| PROOF of Claim Form For Torture Victims by Narciso C. Eugenio, Deceased by Noel

A. Eugenio

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CIVIL. DOCKET CONTINUATION SHEET
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pO : DOCKET No. _MDL 840
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i Apr 26 5369 PROOF of Claim Form For Torture Victims by Jaime Bungcay
9370 ° PROOF of Claim Form For Torture Victims by Rodrgio Albinda
5371 PROOF of Claim Form For ‘Torture Victims by Domingo Arendain
| 9372: PROOF of Claim Form For Torture Victims by Romeo Maras
| 5373) PROOF of Claim Form For Torture Victims by Joseph Abiada
5374 PROOF of Claim Form For Torture Victims by Rodolfo Ciar, Deceased by Uciana
: Lontoc Ciar
5375 PROOF of Claim Form For Torture Victims by Merly A. Mantala
' 5376 PROOF of Claim Form For Torture Victims by Norberto de los Santos
39377 | PROOF of Claim Form For Torture Victims by Jose Zurita
5378 PROOF of Claim Form For Torture Victims by Renato Faller Venzuela
| 5379 , PROOF of Claim Form For Torture Victims by Ernesto BD. Pener
5380 PROOF of Claim Form For Torture Victims by Doroto A. Suarez
5381 PROOF of Claim Form For Torture Victims by Luis 0. Batario
5382 PROOF of Claim Form For Torture Victims by Sinen 8. Vasquez
5383 PROOF of Claim Form For Torture Victims by Alfredo R. Protacio
. 5384 PROOF of Claim Form For Torture Victims by Eugenio Abiada
5385 . PROOF of Claim Form For Torture Victims by Simplicia C. Delada
5386 | PROOF of Claim Form For Torture Victims by William Aguilar Galario
5387 PROOF of Claim Form For Torture Victims by Pepito Curibang Bulan
5388 PROOF of Claim Form For Torture Victims by Percival L. Palmes
| 5389 PROOF of Claim Form For Torture Victims by Gregorio B. Estiller
_ 5390 | PROOF of Claim Form For Torture Victims by Cirilo D. Villarta, Deceased by Jovita
| : C. Villarta
5391 | PROOF of Claim Form For Torture Victims by Napoleon G. Balena, Deceased by Jose
Mar T. Balena
/ 3392 | PROOF of Claim Form For Torture Victims by Bernardo (Billy) S$. Camocamo, Deceased
! by Corazon B. Camocamo
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| 5393 | PROOF of Claim Form For Torture Victims by Rogelio A. Alvarez

| 3394 | PROOF of Claim Form For Torture Victims by Pascuala Cane

5395 | PROOF of Claim Form For Torture Victims by Elogie A. Cane

/ 5396 | PROOF of Claim Form For Torture Victims by Democrito C. Barcenas

| 5397 PROOF of Claim Form For Torture Victims by Avelino P. Amale jo
5398 PROOF of Claim Form For Torture Victims by Camilo Nacor

5399 | PROOF of Claim Form For Torture Victims by Hditha I. Arella

| 5400 | PROOF of Claim Form For Torture Victims by Raquel A. Rimonte

—~5401 ' PROOF of Claim Form For Torture Victims by Lemuel B. Parayon, Sr.
5402 | PROOF of Claim Form For Torture Victims by Florentino Coronel, Jr.
5403 | PROOF of Claim Form For Torture Victims by Ismael P. Datario

/ 5404 | PROOF of Claim Form For Torture Victims by Rosalena Melear

| 5405 | PROOF of Claim Form For Torture Victims by Victor §. Sulit

5406 | PROOF of Claim Form For Torture Victims by Alexander De Los Angeles
| 3407 | PROOF of Claim Form For Torture Victims by Luz D. Tac~An

| 5408 | PROOF of Claim Form For Torture Victims by Ceres P. Doyo

| 5409 | PROOF of Claim Form For Torture Victims by Roberto F. Taguran

| 5410 | PROOF of Claim Form For Torture Victims by Fernando N. Nacor

5411 | PROOF of Claim Form For Torture Victims by Roberto G. Taguran

3412 | PROOF of Claim Form For Torture Victims by Victorino E. Angeles, Sr., Deceased by
Leandra T. Angeles

5413 | PROOF of Claim Form For Torture Victims by Stefani C. Sano

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| » PAGE 19406 PAGES

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Apr 26 | 5414) PROOF of Claim Form For Torture Victims by Nympha Madla Sano
5415; PROOF of Claim Form For Torture Victims by Zenaida P. Medina
_ 5416! PROOF of Claim Form For Torture Victims by Simion Oo. Recohermoso
| 5417) PROOF of Claim Form For Torture Victims by Leodelepon P. Ronguello
5418; PROOF of Claim Form For Torture Victims by Clemente Mantala
5419) PROOF of Claim Form For Torture Victims by Jesus F. Calisura
5420) PROOF of Claim Form For Torture Victims by Myra Rose C. Mamanag
5421) PROOF of Claim Form For Terture Victims by Simplicio Lucas
5422, PROOF of Claim Form For Torture Victims by Antonio L. Talingting, Deceased by
| Venanoia Talingting
; 3423) PROOF of Claim Form For Torture Victims by Romulo M. Calibaso
5424| PROOF of Claim Form For Torture Victims by Domingo M. Parinas
5425} PROOF of Claim Form For Torture Victims by Magarito P. Casetas
2426) PROOF of Claim Form For Torture Victims by Flaviano Duria Aparri, Jr.
5427, PROOF of Claim Form For Torture Victims by Edwin A. Ureta
5428; PROOF of Claim Form For Torture Victims by Andreto 0. Calisura
; 2429) PROOF of Claim Form For Torture Victims by Tomas |. Dominador, Jr.
| 3430; PROOF of Claim Form For Torture Victims by Leonardo ¢, Batalon
| 5431) PROOF of Claim Form For Torture Victims by Anecita A. Pedroso
| 3432| PROOF of Claim Form For Torture Victims by Eduardo B. Calapiz
| 5433) PROOF of Claim Form For Torture Victims by Leopoldo Florentino
3434] PROOF of Claim Form For Torture Victims by Deomasthenes B. Antonio
5435; PROOF of Claim Form For Torture Victims by Lydio J. Mangao
5436) PROOF of Claim Form For Torture Victims by Alvareda Blenvenida Garcia
5437, PROOF of Claim Form For Torture Victims by Tiburcio Maglangit
5438, PROOF of Claim Form For Torture Victims by Sverino U. Condonar
5439; PROOF of Claim Form For Torture Victims by Willie Gawat Tan
5440, PROOF of Claim Form For Torture Victims by Asterio J. Escabarte
3441; PROOF of Claim Form For Torture Victims by Bienvenido 8, Lere jo
5442) PROOF of Claim Form For Torture Victims by Osmundo P. De La Pena
5443) PROOF of Claim Form For Torture Victims by Wilfredo R. Quijane
5444) PROOF of Claim Form For Torture Victims by Leandro Anding, Deceased by Caridad
Anding
5445) PROOF of Claim Form For Torture Victims by Damaso Dela Pena
5446 | PROOF of Claim Form For Torture Victims by Roemo C. Pomare jos, Deceased by Loida
V. Pomare jos i
5447| PROOF of Claim Form For Torture Victims by Eudolfo Opalalic
5448 PROOF of Claim Form For Torture Victims by Zosimo Apura
5449; PROOF of Claim Form For Torture Victims by Valentino C. Bawalan
5450; PROOF of Claim Form For Torture Victims by Herminio P. Batongbacal
5451] PROOF of Claim Form For Torture Victims by Felipe I. Tulabing
5452; PROOF of Claim Form For Torture Victims by Asterio J. Escabarte
3453] PROOF of Claim Form For Torture Victims by Ulysis Culanculan
5454, PROOF of Claim Form For Torture Victims by Catalino M. Pantinope, Jr.
3455} PROOF of Claim Form For Torture Victims by Leonardo Varquez
5456; PROOF of Claim Form For Torture Victims by Roberto P. Cachuela
9457; PROOF of Claim Form For Torture Victims by Reynaldo Loresto Carreon, Deceased by
Nilda M. Carreon
5458) PROOF of Claim Form For Torture Victims by Edgar 0. Caballeda
9459; PROOF of Claim Form For Torture Victims by Federico Fuentes Jubinal
5460 PROOF of Claim Form For Torture Victims by Carmelita Gadayan

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/Apr 26 5461 | PROOF of Claim Form For Torture Victims by Ricardo Bajao, Jr.
/ 5462 PROOF of Claim Form For Torture Victims by Partamagno Pano, Sr,
5463 | PROOF of Claim Form For Torture Victims by Efren Soria |
(5464 PROOF of Claim Form For Torture Victims by Arcadio D. Manabat -
5465 PROOF of Claim Form For Torture Victims by Castro N. Arcilla, Deceased by Maura
| Z. Arcilla
9466 PROOF of Claim Form For Torture Victims by Cesario N. Cole, Deceased by Estrella
M. Cole é
5467 PROOF of Claim Form For Torture Victims by Iluminado M. Paraiso
: 5468 PROOF of Claim Form For Torture Victims by Tolentino ¢. Albinda

5469 PROOF of Claim Form For Torture Victims by Alberro 0. Legaspi
: | 5470 . PROOF of Claim Form For Terture Victims by Julian Barnesio
5471 PROOF of Claim Form For Torture Victims by Juan Barnesto
- 5472 | PROOF of Claim Form For Torture Victims by Edgardo Dytiapco

5473 PROOF of Claim Form For Torture Victims by Yul C. Bahena

5474 | PROOF of Claim Form For Torture Victims by Paulito Oliveros, Deceased by Joel
| Oliveros
5475 | PROOF of Claim Form For Torture Victims by Rolando Martinez de Jesus
/ 5476 PROOF of Claim Form For Torture Victims by Perla P. Bunda
_ 3477 | PROOF of Claim Form For Torture Victims by Walter P. Dacumas
: | PROOF of Claim Form For Torture Victims by Jorge M. Lepura
| 5479 | PROOF of Claim Form For Torture Victims by Alfonso Halog

5480 | PROOF of Claim Form For Torture Victims by Amador Funelas
| 5481 | PROOF of Claim Form For Torture Victims by Necomedes Esperanzate
| 5482 | PROOF of Claim Form For Torture Victims by Amparo Diaz
| 5483 | PROOF of Claim Form For Torture Victims by Eduardo Navarro Aniano
5484 | PROOF of Claim Form For Torture Victims by Alex B. Butae
| 5485 PROOF of Claim Form For Torture Victims by Juanito Solitrino

5486 | PROOF of Claim Form For Torture Victims by Margarita &. Butac

| 3487 | PROOF of Claim Form For Torture Victims by Mario Ballesteros

| 5488 | PROOF of Claim Form For Torture Victims by Edgardo U. Perida

5489 PROOF of Claim Form For Torture Victims by ANastacio M. Ilagan

| 5490 | PROOF of Claim Form For Torture Victims by Nicanor S$. Abueg

5491 . PROOF of Claim Form For Torture Victims by Nicolas Bunda, Jr.

: | PROOF of Claim Form For Torture Victims by Alberto 8. Tatoy

| 5493 | PROOF of Claim Form For Torture Victims by Dominador Babsael
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| PROOF of Claim Form For Torture Victims by Alfredo P. Babael
5495 , PROOF of Claim Form For Torture Victims by Fortunato 0. Cabarriban
| PROOF of Claim Form For Torture Victims by Rogelio G. Mangamas
| PROOF of Claim Form For Torture Victims by Emmanuel Racaza Catong or Ismael Catonp
| by Myrna Racaza Catong
5498 | PROOF of Claim Form For Torture Victims by Jose S. Suan
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; PROOF of Claim Form For Torture Victims by Domingo R. Roberte

| PROOF of Claim Form For Torture Victims by Irenio Esperanzate

; 9501 | PROOF of Claim Form For Torture Victims by Eugenio O. Obsum, Jr.

| 5502 PROOF of Claim Form For Torture Victims by Ramon R. Madrideo

| 5503 | PROOF of Claim Form For Torture Victims by Jesus L. Villasenor, Deceased by
Monica A. Villasenor

pe" PROOF of Claim Form For Torture Victims by Orlando Brinas, Deceased by Estela C.
|

Brinas

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